Case 1:20-cv-00449-JDL Document1 Filed 12/02/20 Pagelof23 PagelID#:1

UNIED STATES DISTRICT COURT

District of Maine

  

ZACHARY SWAIN, ROBERT CARROLL, RYAN LANE,

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ZERNICKE, NICHOLAS GLADU, ANTHONY HARDY, Re ethers + Docket No:).20-ty-M449-SD1_
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similarly situated, duy VEL Te F's
Plaintiffs as _ VERIFIED CLASS ACTION COMPLAINT FOR
y “DEPUTY “EF pecrARATORY AND INJUNTIVE RELIEF AND
* DAMAGES

MAINE DEPARTMENT OF CORRECTIONS, RANDALL LIBERTY, : (Jury Trial Demanded)
RYAN ‘THORNELL, MATTHEW MAGNUSSON, TROY ROSS,
ANTHONY CANTILLO, HEATHER RICHARDSON, and JOHN DOES
1-12; and WELLPATH, LLC., “AMANDA SETRUP, JASCHA
PROPP, DANIEL RITTER, Sued individually and in their:
official capacities, :
Defendants x

1. This is a civil action for declaratory and injunctive relief and damages, to redress the
continuing deprivation of rights secured by the First, Eighth and Fourteenth Amendments to
the United States Constitution, Title 42 U.S.C. §1983, and the Americans with Disabilities
Act and Rehabilitation Act of 1973. Jurisdiction is conferred on this Court by 28 U.S.C. §§
1331, 1343 (a)(4), 1367 (a), and 2201.

2. Plaintiff ZACHARY SWAIN is a named representative of the proposed class action. Swain is

24 years old and suffers serious mental health disorders, developmental disorder, and neuro-
psychiatric disorder: (a) autism spectrum disorder; (b) sensory integration dysfunction; (c)
PTSD; (d) major depression with sucidal ideation; (e) severe anxiety with panic attacks; and

(£) brain injury from near-successful suicide by hanging attempt in or about September 2020.

3. Plaintiff ROBERT CARROLL is a named representative of the proposed class action. Carroll
is 29 years old and suffers serious mental health disorders and neuropsychiatric disorder:
(a) tuberous sclerosis complex (which is a neurodegenerative disease that attacks the central
and peripheral nervous system, in addition to the kidneys, pancreas, skin, and bone; which
causes progressive psycho motor retardation and devastating mental deterioration); (b) manic

depression with sucidal ideation; (c) ADHD; and (d) anxiety.disorder.

4. Plaintiff RYAN LANE is a named representative of the proposed class action. Lane is 2/
years old and suffers serious mental health disorders and neuropsychiatric issues: (a) PTSD;
borderline schizophrenia; (c) major depression with psychotic features; (d) severe anxiety

disorder; and (e) hepatitis C virus that causes intermittent liver failure and dysfunction
which consequently cause hepatic encephalopathy and delirium.
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